      Case 2:18-cv-00012-LGW-BWC Document 21 Filed 09/19/18 Page 1 of 3



                 UNITED STATES DISTRICT COURT FOR THE
                      SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION
____________________________________
                                     )
VALERIE ELLIOTT,                     )
                                     )
                  Plaintiff,         )
                                     )  Case No. 2:18-cv-12
v.                                   )
                                     )
GOVERNMENT CONTRACTING               )
RESOURCES, INC.,                     )
                                     )
                  Defendant.         )
____________________________________)

                                       STATUS REPORT

       With the discovery period having now concluded in the above captioned case, the Parties

make the following report to the Court.

I.     DISCOVERY

       A. Is all discovery completed in this case?

               ☐ Yes          ☒ No

           •   If “No”, please list what discovery is remaining:

           Defendant, which timely served discovery requests and deposed Plaintiff, believes that
           it has conducted all discovery necessary for this case. However, Plaintiff has filed a
           motion to extend the discovery deadline. Therefore, Defendant reserves the right to
           take and respond to additional discovery, in the event the Court grants Plaintiff’s
           motion.

       B. Are there any discovery issues which have been or will be brought before the Court for
          resolution?

               ☒ Yes          ☐ No

           •   If “Yes”, please briefly explain:
      Case 2:18-cv-00012-LGW-BWC Document 21 Filed 09/19/18 Page 2 of 3



              On August 8, 2018, Plaintiff filed a motion to extend the discovery deadline.
              Defendant filed an opposition on August 17, 2018.

II.    SETTLEMENT

       A. Have the parties made efforts to resolve this case?

              ☐ Yes           ☒ No

          •   If “Yes”, please explain those efforts:

              Click here to enter text.

       B. Are the parties prepared to discuss settlement of this case with the Court at this time?

              ☐ Yes           ☒ No

          •   If “No”, please explain:

              Defendant intends to file a motion for summary judgment, and therefore does not
              believe settlement discussions are appropriate at this time.

       C. Are there any third parties and/or lien holders that should be included in any settlement
          discussions for this case?

              ☐ Yes           ☒ No

          •   If “Yes”, please list those parties:

              Click here to enter text.

       D. The Parties propose the following agreed upon dates, prior to the deadline for filing
          motions, for conducting a status conference. (Please provide several dates for the
          Court’s consideration in scheduling. Regardless of whether the Parties seek to discuss
          settlement, the Court may require that each party have a representative with full
          settlement authority present.)

              October 5, 2018
              October 8-10, 2018
              October 12, 2018
              October 15, 2018


                                                 2
       Case 2:18-cv-00012-LGW-BWC Document 21 Filed 09/19/18 Page 3 of 3



III.    MOTIONS

        A. The Plaintiff(s) anticipate filing the following Motions:

                       ☒       None
                       ☐       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☐       Other Motion(s) (Except for Motions in Limine), please explain:

                               Click here to enter text.

        B. The Defendant(s) anticipate filing the following Motions:

                       ☐       None
                       ☒       Motion for Summary Judgment
                       ☐       Motion to Exclude Expert Testimony
                       ☐       Other Motion(s) (Except for Motions in Limine), please explain:

                               Click here to enter text.

IV.     ADDITIONAL MATTERS

        If there are any other matters regarding this case that the Parties seek to bring to the

Court’s attention at this time, please briefly explain:

        Click here to enter text.
Dated: September 19, 2018



                                      Jennifer L. McGhan
                                                                              Counsel for Plaintiff(s)



                                      Ambika J. Biggs
                                                                              Counsel for Defendant




                                                  3
